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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MISSOURI
                             EASTERN DIVISION

DIANA M. KORITZ,                               )
                                               )
              Plaintiff,                       )
                                               )
       v.                                      )          No. 4:23-CV-66 HEA
                                               )
JOSH KORITZ, et al.,                           )
                                               )
              Defendants.                      )

                    OPINION, MEMORANDUM AND ORDER

       This matter is before the Court on Defendant Michael Koritz’s Motion to

Dismiss, joined by Defendant Josh Koritz. (ECF Nos. 88 and 96). Defendants

Michael Koritz and Josh Koritz move to dismiss Plaintiff Diana M. Koritz’s claims

pursuant to Rule 12(b)(1) and (6) of the Federal Rules of Civil Procedure for lack of

subject matter jurisdiction and for failure to state a claim. Plaintiff Diana M. Koritz,

proceeding pro se, opposes the motion. For the reasons below, Defendants Michael

Koritz and Josh Koritz’s Motion to Dismiss is granted.

                                      I. Background

       Plaintiff brings suit against Defendants Josh Koritz, Michael Koritz, Thomas

I. Jones, John C. Jones, and Deborah Ann Jones.1 The operative complaint in this

       1
        On September 9, 2024, Plaintiff voluntarily dismissed Defendants Darly Schaffer, Carisa
Henze, Craig Hellman, William Gust, Peter Roth, and Prestige Technical Services. (ECF Nos.
66 and 68).
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suit is Plaintiff’s Second Amended Complaint, which Plaintiff filed on April 10,

2023. 2 (ECF No. 6). For the basis of jurisdiction in federal court, Plaintiff does not

indicate whether jurisdiction is based on federal question or diversity. With regard

to diversity jurisdiction, Plaintiff alleges that Defendants Peter Roth, Craig

Hellmam, and William Gusts are citizens of Missouri. (ECF No. 6 at 3-4). Plaintiff,

however, does not indicate the citizenship of any other party, even herself. (Id.) As

for the amount in controversy, Plaintiff writes: “Aiding and abetting → White Collar

Criminals. Income Tax Evasion. Parents Abuse/ Missouri Work.” (ECF No. 6 at

6). She does not allege an amount of damages.

       In the space provided for a statement of her claim, Plaintiff wrote the

following:

       10/2021
       That I gave a protected statement under Title 18 U.S. code 1512, 1573[.]
       That this Judge called Hellman. That they plotted with white collar
       criminals who owe[ ] millions by theft of [illegible] and said two
       disabled child[ren] of Hollie M Koritz did something wrong.

(ECF No. 6 at 5).

       Plaintiff also attached to her Second Amended Complaint a number of typed

pages. Plaintiff states that she comes before the Court with “a complaint of harm




       2
       Plaintiff filed her Second Amended Complaint was filed using the Eastern District of
Missouri’s form “Complaint for a Civil Case.”

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Cyberstalking, Theft of Data, Theft of Intellectual Properties” on two email

accounts. (ECR no. 6 at 8). She further writes:

      That due to an emotional time Michael Koritz took advantage of his
      sister who was had become confused with a death of a parent. That
      with forethought and malice he and others sought to harm her. To have
      her disinherited from an Estate through other case being filed in
      Missouri Courts. That my Brother Jospeh K. Jones told me he put a
      keylogger in my computer. That he had a friend Mr. Echo Camp that
      did come over and help with my computer since he was qualified and
      m[y] computer was slow. That I paid 100.00 Cash. That I never under
      any circumstance would allow anyone to track or monitor me. In
      addition as I was typing at my home one day, I typed the words FTC in
      and my computer went dead after reboot I seen Prestige Technical
      Services login … At the very time, I see another company called
      Beacon lynx incogitolabs.com. I do not know who they are.

      Perhaps several months prior to that I received a text from him showing
      me a picture of my brother of Jonathan from him. A picture that glowed.
      That as I looked back I was thinking about my mother. That I was so
      disappointed about him and the family treated Joe and I. That I did not
      think anything about it. That I was trying to be nice about things. That
      he made all kinds of accusations against me. That I would find out in
      the text. That it was a camera of some type that is animated and took
      pictures of all my pictures, emails.

      That you have idea the ugliness and abuse I would endure as I made my
      way to a Police department Franklin County Sheriffs Department to
      acquire records on behalf of my Mother. Phone calls received. Threats
      to me for going to the Police Department. That I never told anyone I
      was going there. That I was told it was from my brother too. Joshua
      Koritz. A brother I loved smh how sickening it was. My poor mom what
      she endured.

(ECF No. 6 at 8-9).

      In these typed pages, Plaintiff also describes what appears to be a state court

proceeding where she was “denied the right to speak.” She complains that there was

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no evidence, and that trial was 15 minutes. There are also allegations about a police

report wherein her mother reported abuse; millions of dollars owned to the U.S.

Government; hundreds of thousands of dollars owed to the City of St. Louis; abuse

of taxpayer dollars and “Unemployment Security;” and “that a bunch of corporate

attorneys, my brothers, and Franklin County Police abused my mother in 2012.”

(ECF No. 6 at 10-12). Plaintiff’s writing is jumbled and disjointed, for example, she

writes:

      THAT THEY HAVE THE AUDACITY TO SAY INHERITANCE
      FRAUD? I WAS ASLEEP I JUST WOKE UP!
      THAT AMERICA IS WAKING UP TO THE FACT YOU OWE
      MONIES, MONIES OMG HOW DARE YOU PEOPLE! PAY UP AS
      WE ARE COMING FOR YOU …… Yes be afraid like Mom and I
      were.

      See you in Court! with her documents! Somone’s going to Jail? You
      said I was, you framed me! I have your texts.

(ECF No. 6 at 13). It is unclear when or where the events occurred, who was

involved, or even what happened. It is also unclear what harm or injuries Plaintiff

is alleging she suffered. For relief, Plaintiff asks the Court to “Slap ther [sic] Hands.”

(ECF No. 6 at 5). Plaintiff indicates that she is claiming actual and punitive

damages, but when asked to indicate the amount claim, she wrote: “[illegible]

Americans Disability Act.” (ECF No. 6 at 7).

      In response, to the Second Amended Complaint, Defendants Michael Koritz

and Josh Koritz argue that Plaintiff fails to establish that the Court has subject matter


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jurisdiction in this case. In the alternative, Defendants Michael Koritz and Josh

Koritz argue that the case should be dismissed because Plaintiff fails to state a claim

in accordance with Rule 12(b)(6) of the Federal Rules of Civil Procedure.

      Plaintiff filed an opposition to Defendants Michael Koritz and Josh Koritz’s

Motion to Dismiss. She argues that she has met the pleading standard under Rule

12(b)(6). She also states that she has facts and evidence to present to the Court.

Plaintiff did not address the issue of subject matter jurisdiction.

                                      Discussion

       Federal Courts are courts of limited jurisdiction. “[T]hey have only the power

that is authorized by Article III of the Constitution and the statutes enacted by

Congress pursuant thereto.” Bender v. Williamsport Area Sch. Dist., 475 U.S. 534,

541 (1986). The presence of subject matter jurisdiction is a threshold requirement

that must be assured in every federal case. Kronholm v. Fed. Deposit Ins. Corp., 915

F.2d 1171, 1174 (8th Cir. 1990). “Subject matter jurisdiction can never be waived

or forfeited.” Wagstaff & Cartmell, LLP v. Lewis, 40 F.4th 830, 838 (8th Cir. 2022).

If the Court does not have jurisdiction, it does not have the power to rule on the

merits and must dismiss the action. Arbaugh v. Y&H Corp., 546 U.S. 500, 514

(2006). The Court has an obligation to determine whether subject-matter jurisdiction

exists before turning to the merits of a case. Hertz Corp. v. Friend, 559 U.S. 77, 94

(2010) (“Courts have an independent obligation to determine whether subject-matter


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jurisdiction exists[.]”). Therefore, the Court will first take up the Defendants’ motion

to dismiss for lack of subject matter jurisdiction.

      The burden of proving subject matter jurisdiction belongs to Plaintiff. V S Ltd.

P'ship v. Dep't of Hous. & Urb. Dev., 235 F.3d 1109, 1112 (8th Cir. 2000); see also

Magee v. United States, 9 F.4th 675, 680 (8th Cir. 2021) (“The burden of proving

the existence of subject matter jurisdiction rests with the party invoking federal

jurisdiction”). Plaintiff is required to show that the Court has jurisdiction to hear

this case.

      Federal courts have subject matter jurisdiction over both federal question

cases and diversity of citizenship cases. See Auto-Owners Ins. Co. v. Tribal Ct. of

Spirit Lake Indian Rsrv., 495 F.3d 1017, 1020 (8th Cir. 2007). The Court has

jurisdiction to hear cases involving the Constitution, laws, or treaties of the United

States under 28 U.S.C. § 1331, which are called federal question cases, and the Court

can hear cases where diversity jurisdiction exists under 28 U.S.C. § 1332, diversity

of citizenship cases.

      The Court will first address whether it has diversity jurisdiction pursuant to

§ 1332. A federal court has diversity jurisdiction where the matter in controversy

exceeds $75,000 and is between citizens of different states. 28 U.S.C. § 1332(a).

For diversity jurisdiction to exist under 28 U.S.C. § 1332(a)(1) there must be

complete diversity of citizenship between plaintiffs and defendants. Buckley v.


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Control Data Corp., 923 F.2d 96, 97, n.6 (8th Cir. 1991). “It is settled, of course,

that absent complete diversity a case is not removable because the district court

would lack original jurisdiction.” Exxon Mobil Corp. v. Allapattah Servs., Inc., 545

U.S. 546, 564 (2005) (cited case omitted).

       Here, Plaintiff fails to identify the citizenship of many of the defendants in

this case, including Defendants Michael Koritz and Josh Koritz. She does allege

that the now-dismissed Defendants Peter Roth, Craig Hellman, and William Gust

are citizens of Missouri, and although she does not allege her citizenship in her

Second Amended Complaint, in her initial Complaint, Plaintiff does allege that she

is a citizen of Missouri. (ECF No. 1 at 3). Thus, Plaintiff fails to establish that there

is diversity of citizenship in this case.

       As for the amount in controversy, Plaintiff fails to allege an amount that is in

excess of $75,000.00. In fact, she does not allege any amount of damages. For

relief, she asks that the Court “slap [their] hands.” (ECF No. 6 at 5). The parties

to this dispute are not diverse, and Plaintiff fails to allege damages in excess of

$75,000.00. The Court, therefore, finds that diversity jurisdiction pursuant to 28

U.S.C. § 1332 is inapplicable.

       The Court will now address whether it has federal question jurisdiction

pursuant to § 1331. Federal question jurisdiction gives district courts “original

jurisdiction over civil actions arising under the Constitution, laws, or treaties of the


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United States.” Griffioen v. Cedar Rapids & Iowa City Ry. Co., 785 F.3d 1182, 1188

(8th Cir. 2015); see also 28 U.S.C. § 1331. Whether a claim arises under federal law

is determined by reference to the “well-pleaded complaint.” Great Lakes Gas

Transmission Ltd. P'ship v. Essar Steel Minnesota LLC, 843 F.3d 325, 329 (8th Cir.

2016). The well-pleaded complaint rule provides that jurisdiction exists only when

a federal question is presented on the face of a plaintiff’s properly pleaded complaint.

Markham v. Wertin, 861 F.3d 748, 754 (8th Cir. 2017). A complaint must establish

“either that federal law creates the cause of action or that the plaintiff’s right to relief

necessarily depends on the resolution of a substantial question of federal law.”

Williams v. Ragnone, 147 F.3d 700, 702 (8th Cir. 1998). “If the asserted basis of

federal jurisdiction is patently meritless, then dismissal for lack of jurisdiction is

appropriate.” Biscanin v. Merrill Lynch & Co., 407 F.3d 905, 907 (8th Cir. 2005).

       Plaintiff does not plead a federal question on the face of her Second Amended

Complaint. She does not allege that any of the defendants violated a federal

constitutional or statutory provision. Plaintiff does refer to the Americans with

Disability Act, but she fails to allege how any of the defendants violated this statute.

She also references white collar crime, income tax evasion, and the United States

criminal code. To the extent Plaintiff alleges the defendants took part in criminal

activity, Plaintiff does not possess a legally cognizable interest in having another

person arrested or charged with a crime, nor can this Court compel a criminal


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prosecution. See Linda R.S. v. Richard D., 410 U.S. 614, 619 (1973) (“a private

citizen lacks a judicially cognizable interest in the prosecution or nonprosecution of

another”). Therefore, the Court finds that the instant action does not arise under the

Constitution, laws, or treaties of the United States, so federal question jurisdiction

pursuant to 28 U.S.C. § 1331 is inapplicable.

      Finding the Second Amended Complaint fails to allege either federal question

jurisdiction or diversity jurisdiction, the Court finds that it lacks subject matter

jurisdiction to hear this dispute in its entirety. The Court dismisses all claims against

the remaining defendants in this cause of action.

      Accordingly,

      IT IS HEREBY ORDERED that Defendant Michael Koritz’s Motion to

Dismiss, which Defendant Josh Koritz joins, is GRANTED in part, and DENIED

in part. The Motion to Dismiss for Lack of Subject Matter Jurisdiction is

GRANTED. The alternative Motion to Dismiss for Failure to State a Claim is

DENIED as moot. [ECF No. 88]

      IT IS FURHER ORDERED that Plaintiff Diana M. Koritz’s claims against

Defendants Michael Koritz, Josh Koritz, Thomas I. Jones, John C. Jones, and

Deborah Ann Jones are DISMISSED for lack of subject matter jurisdiction.




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      IT IS FURTHER ORDERED that Plaintiff Diana M. Koritz’s Motions for

Summary Judgment and for Default Judgment are DENIED without prejudice for

lack of subject matter jurisdiction. [ECF Nos. 59 and 71].

      The Court will issue a separate Order of Dismissal.

      Dated this 13th day of December, 2024.



                                           _________________________________
                                                HENRY EDWARD AUTREY
                                            UNITED STATES DISTRICT JUDGE




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